 Case 2:24-cr-00630-PA           Document 73-1 Filed 11/19/24            Page 1 of 8 Page ID
                                           #:1066
                           MARTIN L. CHENEVERT, M.D.
                     DIPLOMATE OF THE AMERICAN BOARD OF EMERGENCY MEDICINE
                     FELLOW OF THE AMERICAN COLLEGE OF EMERGENCY PHYSICIANS
                                         CA LICENSE #G67565




                                      Medical Expert Report

                   United States v. Adam Iza, Case No: 2:24-cr-00630-PA-1


Introduction

I have been retained as a medical expert by counsel for the defense in the above matter, under the
jurisdiction of the United States District Court, Central District of California, Judge Joel Richlin
presiding.

The purpose of this report is to provide my opinion regarding the medical condition of patient
Adam Iza, currently in custody at the Metropolitan Detention Center (MDC), Los Angeles.
Specifically, I have been asked to evaluate the condition of Mr. Iza’s legs, which underwent
“leg-lengthening” surgery on November 11, 2022. I have been asked to evaluate the need for
urgent surgery to remove the hardware placed in his legs on that date. I have also been asked
whether Mr. Iza’s condition is worsening, and whether he may be developing complications
which will be exacerbated if this hardware is not removed promptly.

Qualifications

I am a board-certified emergency physician in full-time clinical practice for the past 33
years. I am an attending emergency physician at UCLA-Santa Monica Medical Center and
Orthopedic Hospital. I am an Assistant Clinical Professor at the UCLA School of Medicine. I
am a Fellow of the American College of Emergency Physicians.

As an emergency physician working at a major regional orthopedic referral center (UCLA),
I am familiar with complications of orthopedic hardware, including, but not limited to,
infection, localized and systemic toxicity, hardware failure, incomplete healing of bone, and
damage to the surrounding muscle and nerves. I have personally treated many hundreds of
patients bearing orthopedic hardware, and I am familiar with the diagnosis and initial
treatment of the resulting complications.

I have served as a medical expert in over 200 cases in United States District Court and Los
Angeles County Superior Court.

Preparation

I have reviewed the following records:

   (1) Medical records of patient Adam Iza, from the office of Dr. Kevin Debiparshad, MD,
       orthopedic surgeon, Las Vegas, NV, dated 9/29/22 – 9/27/23



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 Case 2:24-cr-00630-PA          Document 73-1 Filed 11/19/24            Page 2 of 8 Page ID
                                          #:1067



   (2) Letter from Dr. Debiparshad regarding the need for removal of Mr. Iza’s implants, dated
       10/7/24
   (3) Investigative report of Mr. Armando U. Romero, private investigator, including two
       photos of Mr. Iza, dated 10/10/24
   (4) Medical records of patient Adam Iza, Bureau of Prisons (BOP) Health Services, Dr. R.
       Toh, MD, dated 10/15/24
   (5) Declaration of Mr. Daniel J. O’Brien, Assistant United States District Attorney, outlining
       various communications with outside health care providers regarding Mr. Iza’s condition

In addition, I personally performed an in-person medical examination of Mr. Iza at the
Metropolitan Detention Center on November 18, 2024. The history and physical exam were
focused on his ongoing orthopedic issues. Following is a brief summary of his recent medical
issues, as told to me by Mr. Iza:

Recent Medical History per Mr. Iza

Mr. Iza underwent cosmetic leg-lengthening surgery on November 11, 2022. Post-operatively, he
was initially wheelchair-bound, and was then gradually advanced to using a walker, and then to
using crutches. His recovery was complicated by poor healing of the left femur (upper leg bone),
which took 8 months longer to heal than the right leg. Due to this complication, he was started on
a medication to enhance bone growth (medication name unknown). Finally, he was deemed
ready for removal of the implants by Dr. Debiparshad sometime around August of 2024. At that
time, per Mr. Iza, he was able to walk unassisted, without significant pain, and perform basic
activities of daily living without difficulty.

Over the past several months, and especially over the past several weeks, his left upper leg has
developed significant pain, causing him to limp and requiring the use of a cane. He has also
noted the presence of two large areas of swelling to his inner thigh, directly over the implant,
which have become increasingly tender to the touch. These areas of swelling were not present
two months ago.

Physical Examination of Mr. Iza on 11/18/24

On physical exam, Mr. Iza walks with a visible limp favoring his left leg, while holding a cane in
his right hand. Range-of-motion testing revealed the following limitations: left knee unable to
fully extend or fully flex due to pain, and unable to stand on tip-toe due to pain. The right knee
also has limitations of movement, but very mild compared to the left.

On palpation (physical touch), there was significant tenderness along the length of the left
anterior and medial thigh (front and inner thigh), with maximal tenderness just above the knee
and at the upper middle thigh.

Also at the area of the upper medial thigh were two areas of swelling, each 2-3 cm in diameter
(approximately 1 inch). These two areas of swelling were exquisitely tender, and Mr. Iza
repeatedly pushed my hand away as I tried to gently palpate this area. These areas of swelling are
easily visible on the photographs taken by Investigator Romero on 10/10/24, shown below.




                                                2
 Case 2:24-cr-00630-PA          Document 73-1 Filed 11/19/24             Page 3 of 8 Page ID
                                          #:1068




               Photos of Mr. Iza’s legs taken on 10/10/24 by Investigator Romero



These photographs, although taken one month prior, are accurate representations of what I saw
during my physical exam on 11/18/24. (I was unable to take my own photographs due to
restrictions at MDC.) I draw attention to the photograph on the right, showing the two areas of
swelling to the left upper inner thigh. These areas were extremely tender and fluctuant (fluid-
filled). (The other, single dark mark on the right upper thigh is mostly likely a post-operative scar
and is not clinically concerning to me.)




                                                 3
 Case 2:24-cr-00630-PA          Document 73-1 Filed 11/19/24             Page 4 of 8 Page ID
                                          #:1069




                                                     Diagram of a “Precice” femoral implant
                                                             such as Mr. Iza’s




Opinions

   (1) Mr. Iza has developed a complication of his surgical procedure. This is likely due to
       either an infection, leakage of the prosthetic material into the tissues, or some other
       damage to the muscles and nerves as a result of the hardware.

   (2) Mr. Iza should have his implants removed as soon as possible. Further delay will
       likely exacerbate the problem and may result in permanent disability and even limb
       loss.

   (3) The removal of the implants should be performed by someone with extensive
       expertise in this area, preferably by Dr. Debiparshad himself.



Discussion

The two areas of swelling, and the overall tenderness of the left thigh, are extremely concerning.
These are not typical findings in an otherwise healthy young male, and are not easily explained
by other medical issues. These physical finding ARE typical, however, when there is an
underlying infection or other deep tissue damage, as the body tries to either fight the infection or
otherwise “wall off” the problem. It is especially concerning that these symptoms are getting



                                                 4
 Case 2:24-cr-00630-PA          Document 73-1 Filed 11/19/24            Page 5 of 8 Page ID
                                          #:1070



worse rather than better. The clock is ticking, and what might be a relatively straightforward
procedure today, might become a much more complicated situation further in the future,
requiring prolonged hospitalization to treat infection or other systemic toxicity.

When orthopedic hardware becomes infected or otherwise causes localized tissue damage, the
optimal treatment, whenever possible, is removal of the hardware. Simply treating with
antibiotics or anti-inflammatory medications will have minimal effect, as these medications do
not readily penetrate into the underlying foreign material.

Furthermore, SOME materials, such as titanium rods used to treat femur fractures, are
specifically designed to be LIFELONG implants, and have been tested over many years and have
a long track record of safety. Mr. Iza’s implants, however, are designed to be TEMPORARY (at
most one to one and one-half years) and have never been tested long-term. Both the
manufacturer of the implants and the FDA recommend removal as soon as possible, once the
lengthening procedure has been completed.

Per Dr. Debiparshad’s letter of 10/7/24, he is willing to perform this removal procedure at his
facility in Las Vegas. I also understand, from AUSDA O’Brien’s declaration, that finding
another surgeon willing to perform this procedure has been unsuccessful. This is not surprising.
In my experience in working with hundreds of surgeons over many years, most are unwilling to
take on the complications of someone else’s work. Furthermore, the type of expertise involved in
leg-lengthening surgery is quite specialized and there are a limited number of surgeons who do
this type of work. In my opinion, further attempts to have Mr. Iza’s surgery performed in the Los
Angeles may likely continue to be unsuccessful.


Respectfully submitted,




Martin Chenevert, MD, FACEP
November 19, 2024




                                                5
Case 2:24-cr-00630-PA   Document 73-1 Filed 11/19/24              Page 6 of 8 Page ID
                                  #:1071



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 Work Experience
 7/91 - present           UCLA-Santa Monica Medical Center, Santa Monica, CA.
                          Attending Physician, Emergency Department. Duties include
                          primary patient care, lectures, and clinical instruction of
                          residents at a community hospital.

 7/00 - present           UCLA School of Medicine, Los Angeles, CA.
                          Assistant Clinical Professor, Department of Emergency Medicine.
                          Duties include lectures and clinical instruction of residents and
                          medical students at a large academic referral center.

 2/16 – 2/19              MLK Community Hospital, Los Angeles, CA.
                          Attending Physician, Emergency Department. Duties include
                          primary patient care at a busy urban community hospital.

 7/91 - 12/94             Harbor-UCLA Medical Center, Torrance, CA.
                          Attending Physician, Department of Emergency Medicine. Duties
                          included clinical instruction of residents at a busy county
                          hospital.

 1/90 - 12/91             Kaiser-Permanente, Harbor City, CA.
                          Orthopedic Hospital, Los Angeles, CA.
                          Hawthorne Hospital, Hawthorne, CA.
                          Per Diem Physician, Emergency Department.



 Education
 6/88 - 6/91              Harbor-UCLA Medical Center, Torrance, CA.
                          Residency, Department of Emergency Medicine.

 9/83 - 6/88              Yale University School of Medicine, New Haven, CT.
                          MD.

 1/82 - 12/82             Stanford University, Stanford, CA.
                          MS, Biological Sciences.

 9/78 - 6/82              Stanford University, Stanford, CA.
                          BA, Human Biology.
Case 2:24-cr-00630-PA   Document 73-1 Filed 11/19/24               Page 7 of 8 Page ID
                                  #:1072




 Expert Witness
 1995-present               Medical Expert. Provide expert witness services in criminal and
                            civil rights cases in U.S. District Court, Los Angeles Superior
                            Court, and U.S. Immigration Court. Expertise in all areas of
                            emergency medicine.


 Volunteer Work
 May 2010                   Haiti. Emergency Physician, L'Hopital de l'Universite d'Etat
                            d'Haiti, Port-au-Prince. Provided direct emergency care to
                            victims of the January 2010 earthquake. Provided training to
                            Haitian physicians.

 March 2010                 Los Angeles Marathon. Emergency Physician, Los Angeles
                            County Mobile Intensive Care Unit. Provided medical services
                            to elite and non-elite marathon finishers.

 May 1999                   Albania. Emergency Physician, United Arab Emirates refugee
                            camp near the Kosovo border. Provided urgent medical care to
                            Kosovar refugees, some with war-related injuries. Provided
                            training to Kosovar physicians.




 Research and               "Ashman's Phenomenon - A Source of Paroxysms of Wide-
                            Complex Tachycardia: Case Report and Discussion," Chenevert,
 Publications               Martin, MD and Lewis, Roger, MD, PhD, Journal of Emergency
                            Medicine, vol. 10, pp. 179-183, 1992.

                            "Reversal of Long-Term Potentiation by Repeated Tetanization
                            in the Presence of APV." A proposed neurochemical mechanism
                            for reversal of memory in mammalian brains (MD Thesis, Yale
                            Department of Molecular Neurobiology, New Haven, CT, 1988).

                            Using intracellular microelectrodes, mapped a discrete neuronal
                            circuit that controls swimming behavior in a Pacific marine
                            mollusk (Master's Project, Hopkins Marine Station of Stanford
                            University, Monterey, CA, 1982).




 Professional Credentials   Board Certification, American Board of Emergency Medicine,
                            1992-present

                            Medical License, State of California, 1989-present

                            DEA Registration, 1992-present

                            Member, American College of Emergency Physicians, 1991-
                            present
Case 2:24-cr-00630-PA    Document 73-1 Filed 11/19/24              Page 8 of 8 Page ID
                                   #:1073




 Professional Affiliations   Member, “Date Rape Drug Task Force,” County of Los Angeles,
                             1995

                             Member, Emergency Committee, Medicine Committee,
                             Pediatrics Committee, Social Action Task Force, Santa Monica-
                             UCLA Medical Center




 Honors and Awards           Fellow, American College of Emergency Physicians, 1994-
                             present

                             Thomas L. Stern Award for Excellence in Teaching, Family
                             Practice Residency Program, Santa Monica-UCLA Medical
                             Center, 1994

                             Award for Excellence in Education, UCLA Family Medicine
                             Residency Program, 2014
